Case 4:04-cv-02688-JEJ Document174 Filed 09/09/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

TAMMY KITZMILLER, et al.,
Plaintiffs, ) Civil No. 04-CV-2688
V. Filed Electronically
DOVER AREA SCHOOL Hon. John E, Jones, Hl
DISTRICT, et al., )
Defendants. )

MOTION OF COURTROOM TELEVISION NETWORK LLC
FOR RECONSIDERATION OF THE COURT’S
MEMORANDUM AND ORDER OF SEPTEMBER 7, 2005
Courtroom Television Network LLC (“Court TV”) hereby moves this
Honotable Court pursuant to Local Rule 7.10 for reconsideration of its
Memorandum and Order of September 7, 2005 denying Court TV’s Motion to
Intervene. The reasons supporting this Motion are set forth in the accompanying

Memorandum of Law, as well as in the accompanying Exhibit A, which is the

Memorandum of Law filed as Exhibit 1 to the Motion to Intervene.
Case 4:04-cv-02688-JEJ Document174 Filed 09/09/05 Page 2 of 2

WHEREFORE, Court TV respectfully requests that the Court reconsider its denial
of the Motion to Intervene; grant the Motion to Intervene and deem filed Court
TV’s unopposed Motion to Telecast and Record; on the basis ofa full record,
reconsider its conclusion that it does not have the power to grant the Motion to

Record and Telecast; and grant the Motion to Record and Telecast the trial of this

matter.
Dated: September 9, 2005
Respectfully submitted,

LEVINE SULLIVAN KOCH & SCHULZ, L.L.P.

By: Ajab Ofc
“ e Levine* \\
Gayle C. Spro
jchael Berry

2112 Walnut Street, Third Floor
Philadelphia, Pennsylvania 19103
(215) 988-9778 (phone)
(215) 988-9750 (facsimile)
llevine@Iskslaw.com
gsproul@|skslaw.com
mberry@Iskslaw.com

Attorneys for Intervenor
Courtroom Television Network LLC

* Petition for special admission filed on September 2, 2005.
